Case 1:18-cv-00966-CFC-CJB Document 976-1 Filed 08/15/22 Page 1 of 5 PageID #: 37867




                      EXHIBIT A
Case 1:18-cv-00966-CFC-CJB Document 976-1 Filed 08/15/22 Page 2 of 5 PageID #: 37868



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


   VLSI TECHNOLOGY LLC,                        )
                                               )
                       Plaintiff,              )
                v.                             )
                                               ) C.A. No. 18-966-CFC-CJB
   INTEL CORPORATION,                          )
                                               )
                       Defendant.              )
                                               )


        DECLARATION OF VLSI TECHNOLOGY LLC’S CEO MICHAEL
       STOLARSKI IN RESPONSE TO COURT’S AUGUST 1, 2022 ORDER

         I, Michael Stolarski, hereby declare as follows:

         1.     I am the Chief Executive Officer of VLSI Technology, LLC (“VLSI”),

   and have had that role since 2016. Unless otherwise stated, I have personal

   knowledge of the facts stated in this declaration. I submit this declaration in response

   to the Court’s August 1, 2022 Memorandum Order.

         2.     In its August 1, 2022 Order, the Court stated “Mr. Stolarski says that

   he ‘[is] informed’ that one of the seven LLCs ‘is wholly owned by a closed end

   investment fund family comprised of six individual funds,’ but he does not identify

   those six funds or say that the funds are corporations. D.I. 972, I 5. Mr. Stolarski

   says that the remaining six LLCs and three partnerships ‘are investment funds,’ but

   he does not identify the funds or their legal status. D.I. 972, I 5.” To the best of my




                                             -1-
Case 1:18-cv-00966-CFC-CJB Document 976-1 Filed 08/15/22 Page 3 of 5 PageID #: 37869



   knowledge after a diligent search, VLSI does not have the additional information

   that is requested by the Court’s August 1, 2022 Order. In particular, beyond what is

   stated in my July 18, 2022 declaration and what is already in the record before the

   Court, with one minor exception, VLSI does not have further information

   concerning either (a) the various entities that are investors in FCOF IV UST LLC,

   or (b) the other entities that have invested in VLSI’s parent company, CF VLSI

   Holdings LLC (“VLSI Holdings”).

         3.     The minor exception referred to in paragraph 2 above is that in

   connection with a prior litigation between Intel and VLSI, Case No. 6:21-CV-057-

   ADA (W.D. Tex.), I learned that that one of the hundreds of minority investors in

   the entities that are members of VLSI Holdings LLC is a retirement fund associated

   with Texas A&M University.

         4.     Because the Court’s August 1, 2022 Memorandum Order requests

   additional information that is not in VLSI’s possession, custody or control, and to

   my knowledge is not publicly available, VLSI requested that non-party Fortress

   Investment Group LLC (“Fortress”) provide any additional responsive information

   that is available to Fortress. In response, Fortress’s representative stated that there

   are strict contractual confidentiality obligations owed to the hundreds of investors in

   the entities listed in my July 18, 2022 declaration, and therefore Fortress has not

   disclosed and cannot voluntarily disclose additional information related to the




                                            -2-
Case 1:18-cv-00966-CFC-CJB Document 976-1 Filed 08/15/22 Page 4 of 5 PageID #: 37870



   identity of those investors to VLSI.

          5.     For the above reasons, VLSI does not have and therefore cannot

   provide the Court with further information concerning the ten entities listed in my

   prior declaration that are members of VLSI’s parent company VLSI Holdings,

   namely: FCOF IV UST LLC, a Delaware limited liability company; FTS SIP

   Investments II LLC, a Delaware limited liability company; FCO MA LSS LP, a

   Delaware Limited Partnership; FCO MA IV UB Securities LLC, a Delaware limited

   liability company; FCO MA II UB Securities LLC, a Delaware limited liability

   company; FCO MA SC II Investments LLC, a Delaware limited liability company;

   FCO MA Centre Street LP, a Delaware Limited Partnership; FCO MA ML

   Investments II LLC, a Delaware limited liability company; FCO MA MI LP, a

   Delaware Limited Partnership, and FGOY II Investments LLC.

          6.     However, to reiterate, all decisions concerning the conduct and

   management of this litigation are made either by me as CEO of VLSI, or by VLSI’s

   three-person Board of Directors (of which I am a member), not by outside entities.

   In my nearly six years as CEO of VLSI, to the best of my knowledge and

   recollection, I have had no communications with outside investors in any of the

   entities that are members of VLSI Holdings, and those investors play no role in the

   management of VLSI or in making decisions concerning the conduct of this

   litigation.




                                          -3-
Case 1:18-cv-00966-CFC-CJB Document 976-1 Filed 08/15/22 Page 5 of 5 PageID #: 37871



         I declare under penalty of perjury under the laws of the United States of

   America that the foregoing is true and correct to the best of my knowledge and belief.

                                          Executed on August 15, 2022

                                          ______________________

                                          Michael Stolarski
                                          Chief Executive Officer,
                                          VLSI Technology LLC




                                            -4-
